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                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

   TRAVELERS PROPERTY CASUALTY
   COMPANY OF AMERICA,

                              Plaintiff,

   -vs-                                             Case No. 6:08-cv-805-Orl-28GJK

   PARAMOUNT LAKE EOLA, L..P.,
   HARDIN CONSTRUCTION COMPANY,
   LLC,

                         Defendants.
   ______________________________________

                                           ORDER
          This case is before the Court on three motions, Paramount Lake Eola, L.P.’s Motion

   to Strike Notice and Claim of Charging Lien (Doc. No. 107) filed March 23, 2010; Paramount

   Lake Eola. L.P.’s Motion for Sanctions (Doc. No. 110) filed March 30, 2010; and Claimant

   Yunger’s Motion to Prohibit Parties From Distributing Attorneys’ Fees Portion of Settlement

   Funds (Doc. No. 111).     The United States Magistrate Judge has submitted a report

   recommending that the motions be denied. The United States Magistrate Judge also

   recommends the denial of the Claim of Lien filed by Raegan Yunger.

          After an independent de novo review of the record in this matter, and noting that no

   objections were timely filed, the Court agrees entirely with the findings of fact and

   conclusions of law in the Report and Recommendation. Therefore, it is ORDERED as

   follows:

          1.    That the Report and Recommendation filed June 21, 2010 (Doc. No. 130) is

   ADOPTED and CONFIRMED and made a part of this Order.
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         2.     The Claim of Lien filed by Raegan Yunger (Doc. No. 103) is DENIED.

         3.     Paramount Lake Eola, L.P.’s Motion to Strike (Doc. No. 107) is DENIED.

         4.     Paramount Lake Eola, L.P.’s Motion for Sanctions (Doc. No. 110) is DENIED.

         5.     Claimant Yunger’s Motion to Prohibit Distribution (Doc. No. 111) is DENIED.

         DONE and ORDERED in Chambers, Orlando, Florida this _26th__ day of July, 2010.




   Copies furnished to:

   United States Magistrate Judge
   Counsel of Record
   Unrepresented Party




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